Case 0:22-cv-60450-RS Document 6 Entered on FLSD Docket 03/10/2022 Page 1 of 2
Case 0:22-cv-60450-RS Document 3 ,Entered on FLSD Docket 03/01/2022 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

 

 

 

 

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MARCELIN LIBERAL, individually, and on
behalf of all others similarly situated

 

Plaintiffs)
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HEALTHCARE REVENUE RECOVERY

GROUP, LLC and MEMORIAL REGIONAL
HOSPITAL SOUTH AUXILIARY, INC. ~

Defendant(s)

0:22-cv-60450-RS
Civil Action No.

 

Nee ee are tl! pee eee ee Ne ene ee! ae’

SUMMONS IN A CIVIL ACTION

‘To: (Defendant's name and address) HEALTHCARE REVENUE RECOVERY GROUP, LLC
as clo CORPORATION SERVICE COMPANY
1201 HAYS STREET
TALLAHASSEE, FL 32301-2525

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are a United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
2 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

fhe Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Alexander J. Taylor

Sulaiman Law Group, Ltd

2500 S Highland Ave, Suite 200

Lombard, IL. 60148

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If you fail to respond, judgment by default will be entered against you for the relief demanded i in the complaint.
You also must file your answer or motion w ith the court.

   

 

 

SUMMONS
Date: Mar 1, 2022 Ne a of s/M. Brown
- a earl 7 Deguty Clerk
Angela £. Noble U.S. Gistrict Courts:

Clerk of Cowrt
Case 0:22-cv-60450-RS Document 6 Entered on FLSD Docket 03/10/2022 Page 2 of 2

VERIFIED RETURN OF SERVICE ; Job #7221740

Client Info:

Paul Pankiewicz - R.O.S. Consulting, Inc
23900 INDUSTRIAL DRIVE, SUITE 3 °
Plainfield, IL 60585 :

 

 

Case Info:

PLAINTIFF: U.S.D.C. FOR THE SOUTHERN DISTRICT OF FLORIDA

MARCELIN LIBERAL, INDIVIDUALLY AND ON BEHALF OF ALL

OTHERS SIMILARLY SITUATED , Court Case # 0:22-cv-60450-RS
~versus-

DEFENDANT: e

HEALTHCARE REVENUE RECORVERY GROUP, LLC AND MEMORIAL
REGIONAL HOSPITAL SOUTH AUXILIARY, INC,

Service Info:

 

Received by Benjamin Young: on March, 8th 2022 at 10:51 AM

Service: I Served HEALTHCARE REVENUE RECORVERY GROUP, LLC c/o CORPORATION SERVICE COMPANY
With: SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT

by leaving with Sheena Black, AGENT FOR SERVICE OF PROCESS

At Business 1201 HAYS STREET TALLAHASSEE, FL 32301

On 3/9/2022 at 11:55 AM

Manner of Service: CORPORATE -
CORPORATE SERVICE: F.S. 48.081 (1)(a)(b}(c}\(d), (2) or (3)

I Benjamin Young acknowledge that I am authorized to serve process, in good standing in the jurisdiction wherein the process was
served and I have no interest in the above action. Under penalties of perjury, I declare that I have read the foregoing document and
that the facts stated in it are true.

 

Benjamin Young
Lic # -274-

ACCURATE SERVE OF PLANTATION
151 N NOB HILL ROAD, SUITE #254
Plantation, FL 33324

Client # MIA1106
Job # 1221740 :

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